
DIANA GRIBBON MOTZ, Circuit Judge,
concurring in the judgment:
I concur in the court’s judgment that joinder error requires us to vacate Hawkins’ convictions on Counts I and II. I write separately simply to note that this circuit’s approach to Federal Rules of Evidence 404(b) and 403 may well have precipitated the error in this case.
We have used two interrelated theories in construing these rules to permit admission of evidence of prior bad acts, notwithstanding the potential of this evidence to prove criminal propensity. See Michelson v. United States, 335 U.S. 469, 475-76, 69 *708S.Ct. 213, 93 L.Ed. 168 (1948). On the one hand, we have construed Rule 404(b) to permit admission of “all evidence of other crimes or acts except that which tends to prove only criminal disposition.” United States v. Powers, 59 F.3d 1460, 1464 (4th Cir.1995) (internal quotation marks omitted). On the other hand, we have construed Rule 403 to require exclusion of evidence as prejudicial “only in those instances where the trial judge believes that there is a genuine risk that the emotions of the jury will be excited to irrational behavior, and that this risk is disproportionate to the probative value of the offered evidence.” Id. at 1467 (internal quotation marks omitted). Together, these theories require exclusion of prior bad act evidence only in rare and egregious circumstances.
Indeed, we have consistently held that the admission of even highly prejudicial bad act evidence does not violate either rule. See, e.g., United States v. Branch, 537 F.3d 328, 341-42 (4th Cir.2008) (affirming admission of evidence of prior unrelated arrest and conviction for possession with intent to distribute cocaine base in trial for the same crime); United States v. Uzenski 434 F.3d 690, 710 (4th Cir.2006) (affirming admission of evidence of defendant’s teenage attempts to make pipe bombs in trial of defendant — now an adult — for manufacture of a pipe bomb); United States v. Hodge, 354 F.3d 305, 311—12 (4th Cir.2004) (affirming admission of evidence of prior unrelated drug transactions in trial for possession of cocaine with intent to distribute); United States v. Van Metre, 150 F.3d 339, 350-52 (4th Cir.1998) (affirming admission of evidence of a prior conviction for kidnapping and sexual assault in trial for separate act of unrelated kidnapping).
In the face of this precedent, it is not at all surprising that a busy district judge, concerned with both justice and judicial economy, might find joinder permissible if evidence as to one count demonstrated likelihood to commit a crime charged in another count. Of course, as the majority explains, the law does not permit such joinder any more than it permits admission of propensity evidence.
